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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY



   JOSEPH AMOOP also known as
   ANOOP MICHAEL JOSEPH,                             Case No. 20–cv–15473–ESK

                 Petitioner,

          v.                                                      OPINION

   THE ATTORNEY GENERAL OF
   THE STATE OF NEW JERSEY,

                 Respondent.

  KIEL, U.S.D.J.

       THIS MATTER comes before the Court on petitioner Joseph Amoop’s,
  also known as Anoop Michael Joseph, motion for relief from a final judgment
  pursuant to Federal Rule of Civil Procedure 60(b)(6) (Motion).            (ECF No. 38).
  Respondent Attorney General of the State of New Jersey opposes the Motion.
  (ECF No. 39.)         For the following reasons, I will deny the Motion.            No
  certificate of appealability shall issue.

       I.        FACTS AND PROCEDURAL HISTORY
       Petitioner was convicted in the New Jersey Superior Court Law Division,
  Camden County of first-degree felony murder, N.J.S.A. 2C:11–3a(3); first-
  degree robbery, N.J.S.A. 2C:15–1; first-degree conspiracy to commit murder or
  robbery, N.J.S.A. 2C:5–2; second-degree possession of a firearm for an unlawful
  purpose, N.J.S.A. 2C:39–4a; and third-degree unlawful possession of a
  handgun, N.J.S.A. 2C:39–5.           State v. Amoop, No. A–3837–13T1, 2016 WL
  3619725, at *1–2 (N.J. Super. Ct. App. Div. July 7, 2016) (Amoop I).                He
  received a life sentence.      Id. at *2.   His direct appeal concluded on October 21,
  2016.        State v. Amoop, 228 N.J. 64 (2016).
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           Petitioner filed a pro se petition for post-conviction relief (PCR) on July
  14, 2017.    (ECF No. 25–24).     The PCR court denied the PCR petition on July
  10, 2020.     (ECF No. 25–67.) The Appellate Division rejected petitioner’s
  appeal on June 30, 2021.      State v. Amoop, No. A–00737–18, 2021 WL 2711113,
  at *3 (N.J. Super. Ct. App. Div. June 30, 2021) (Amoop II).         The New Jersey
  Supreme Court denied certification on October 8, 2021.          State v. Amoop, 248
  N.J. 489 (2021).
         Petitioner filed a petition for a writ of habeas corpus pursuant to 28 U.S.C.
  § 2254 on November 4, 2020.        (ECF No. 1).    District Judge Noel L. Hillman
  stayed the Petition to allow petitioner to return to the state courts on August
  11, 2021.    (ECF No. 7).    The proceedings were reopened on January 31, 2022,
  and Judge Hillman appointed CJA counsel to represent petitioner.           (ECF No.
  12).
         On July 1, 2022, counsel filed a Second Amended Petition.       (ECF No. 20.)
  As is relevant here, the Second Amended Petition argued:

                 •   Instructions to the jury on the charge of
                     conspiracy violated petitioner’s constitutional
                     right to a unanimous verdict; trial counsel was
                     ineffective for failing to object to unconstitutional
                     jury instructions, and post-conviction counsel was
                     ineffective for failing to raise same (Ground B).
                 •   The trial prosecutor’s serial improper comments
                     during closing argument constituted a violation of
                     due process of law; trial counsel was ineffective for
                     failing to object; and post-conviction counsel was
                     ineffective for failing to raise same (Ground C).
                 •   Trial counsel’s cumulative errors undermine
                     confidence in Mr. Amoop’s convictions (Ground E).
  (ECF No. 20–1 p. 3.)     Respondent filed its answer on October 13, 2022.     (ECF
  No. 25.)    This matter was reassigned to me on March 25, 2024.        (ECF No. 26.)




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       On March 19, 2025, I dismissed Grounds B, C, and E as procedurally
  defaulted.   (ECF No. 29 pp. 9, 10.)     I found that petitioner “acknowledged the
  procedural default in the Second Amended Petition but reserved addressing
  cause and prejudice for a reply brief.”     (Id. p. 10 (citing ECF No. 20–1 p. 16).)
  “Petitioner did not submit a reply brief after respondent submitted the answer,
  however, leaving the cause and prejudice and miscarriage of justice arguments
  unaddressed.”    (Id.)   Therefore, I concluded that I could not address the
  merits of Grounds B, C, and E.         (Id.) I denied the remainder of the Second
  Amended Petition and denied a certificate of appealability.          (ECF No. 30.)
       On April 11, 2025, petitioner filed a notice of appeal to the United States
  Court of Appeals for the Third Circuit.           (ECF No. 32); see also Amoop v.
  Attorney General New Jersey, Appeal No. 25–01763 (3d Cir.)             He filed a pro se
  motion for relief from final judgment pursuant to Federal Rule of Civil
  Procedure 59 that same day.        (ECF No. 31.)       Petitioner’s Rule 59 motion
  asked for relief from judgment “so he can amend Grounds B, C, and E of [the
  Second Amended Petition] to include[ ] the cause and prejudice and
  fundamental miscarriage of justice factors to excuse the procedurally defaulted
  claims so it can be consider on their merits.”      (Id. p. 2.)    I denied that motion
  on April 23, 2025 after concluding that petitioner had not addressed why he
  failed to respond to the State’s procedural default argument prior to judgment.
  (ECF No. 35 pp. 4, 5.)
       Petitioner filed this Rule 60(b) Motion on June 23, 2025.           (ECF No. 38.)
  He argues that there are extraordinary circumstances warranting relief,
  namely that no court has rendered a decision on the merits of the procedurally
  defaulted claims and that CJA counsel’s failure to argue against procedural
  default was a “dereliction of duty.”    (Id. p. 5.) Respondent opposes the Motion,
  arguing that relief pursuant to Rule 60(b) is inappropriate because “an attack




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  on habeas counsel’s omission ordinarily does not go to the integrity of the
  proceedings.”    (ECF No. 39 p. 2.)

       II.    LEGAL STANDARD
       “The standards for evaluating a 60(b) motion are well established.”
  Bracey v. Superintendent Rockview SCI, 986 F.3d 274, 284 (3d Cir. 2021).
  That Rule “enumerates specific circumstances in which a party may be relieved
  of the effect of a judgment, such as mistake, newly discovered evidence, fraud,
  and the like.”   Buck v. Davis, 580 U.S. 100, 112 (2017).        “The Rule concludes
  with a catchall category—subdivision (b)(6)—providing that a court may lift a
  judgment for ‘any other reason that justifies relief.’”   Id.    The Supreme Court
  has noted that “our cases have required a movant seeking relief under Rule
  60(b)(6) to show ‘extraordinary circumstances’ justifying the reopening of a final
  judgment.    Such circumstances will rarely occur in the habeas context.”
  Gonzalez v. Crosby, 545 U.S. 524, 535 (2005).

       III. DISCUSSION
       Petitioner’s appeal is currently pending before the Third Circuit.      Amoop,
  Appeal No. 25-01763 (3d Cir.)     “As a general rule, the timely filing of a notice
  of appeal is an event of jurisdictional significance, immediately conferring
  jurisdiction on a Court of Appeals and divesting a district court of its control
  over those aspects of the case involved in the appeal.”    Venen v. Sweet, 758 F.2d
  117, 120 (3d Cir. 1985).   However, “while an appeal is pending, a district court,
  without permission of the appellate court, has the power both to entertain and
  to deny a Rule 60(b) motion.”   Id. at 123 (citing Main Line Federal Savings and
  Loan Association v. Tri-Kell, 721 F.2d 904, 906 (3d Cir. 1983)).         Therefore, I
  may consider the Motion despite Petitioner’s pending appeal.
       I must also consider whether the Motion is properly brought pursuant to
  Rule 60(b) or whether it is a second or successive § 2254 petition.       “[I]n those
  instances in which the factual predicate of a petitioner’s Rule 60(b) motion



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  attacks the manner in which the earlier habeas judgment was procured and not
  the underlying conviction, the Rule 60(b) motion may be adjudicated on the
  merits.”     Pridgen v. Shannon, 380 F.3d 721, 727 (3d Cir. 2004).       “However,
  when the Rule 60(b) motion seeks to collaterally attack the petitioner’s
  underlying conviction, the motion should be treated as a successive habeas
  petition.”    Id.
       Petitioner argues in his Motion that I should reopen the habeas
  proceedings and consider the merits of Grounds B, C, and E because CJA
  counsel was ineffective for failing to defend against the procedural default
  argument.      (ECF No. 38 p. 6.)    “[A]n attack based on the movant’s own
  conduct, or his habeas counsel’s omissions, ordinarily does not go to the
  integrity of the proceedings, but in effect asks for a second chance to have the
  merits determined favorably.”        Gonzalez v. Crosby, 545 U.S. 524, 532
  n. 5(2005) (internal citation omitted).    Here, however, petitioner “cannot be
  viewed as trying to relitigate the merits of his claims because … the merits of
  [Grounds B, C, and E] have not yet been reviewed.”       Michael v. Wetzel, 570 F.
  App’x 176, 180 (3d Cir. 2014).      He is not attempting to add new claims, nor
  does he challenge my merits determination of the other claims in the Second
  Amended Petition.      “Rather he is asking to have the merits [of the procedurally
  defaulted claims] determined in the first instance.”        Id. at 179. Therefore, I
  conclude that the Motion is properly filed pursuant to Rule 60(b).
       I find that petitioner has not shown extraordinary circumstances that
  warrant Rule 60(b)(6) relief.    “A prisoner bears the risk in federal habeas for
  all attorney errors made in the course of the representation unless counsel
  provides constitutionally ineffective assistance.”    Shinn v. Ramirez, 596 U.S.
  366, 382–83 (2022) (cleaned up).       There is no right to counsel in § 2254




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  proceedings, so any errors made by CJA counsel, to the extent there were any,1
  are attributable to petitioner.      Id. at 383 (citing Williams v. Taylor, 529 U.S.
  420, 432 (2000)).     Accordingly, I will deny petitioner’s Motion.

       IV.       CERTIFICATE OF APPEALABILITY
       Pursuant to 28 U.S.C. § 2253(c), a petitioner may not appeal from a final
  order in a habeas proceeding where that petitioner’s detention arises out of his
  state court conviction unless he has “made a substantial showing of the denial
  of   a   constitutional    right.”   “A   petitioner   satisfies     this standard   by
  demonstrating that jurists of reason could disagree with the district court’s
  resolution of his constitutional claims or that jurists could conclude that the
  issues presented here are adequate to deserve encouragement to proceed
  further.”    Miller-El v. Cockrell, 537 U.S. 322, 327 (2003).              I will deny
  petitioner a certificate of appealability because jurists of reason would agree
  that petitioner has not satisfied Rule 60(b)(6)’s standard for relief.

       V.      CONCLUSION
       For the reasons stated above, I will deny the Motion.              An appropriate
  Order accompanies this Opinion.


                                                      /s/ Edward S. Kiel
                                                     EDWARD S. KIEL
                                                     UNITED STATES DISTRICT JUDGE
  Dated: July 14, 2025




           1 To be clear, I make no findings about whether CJA counsel erred.




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